Case 1:06-cr-00072   Document 311   Filed 09/17/14   Page 1 of 4 PageID #: 1101



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD

UNITED STATES OF AMERICA

v.                                          CRIMINAL NO. 1:06-00072-005

ERIC RILEY


                     MEMORANDUM OPINION AND ORDER

        In Bluefield, on September 16, 2014, came the defendant,

Eric Riley, in person and by counsel, Debra Kilgore; came the

United States by Miller A. Bushong, III, Assistant United States

Attorney; and came United States Probation Officer Brett S.

Taylor, for a hearing on the petition to revoke the defendant's

term of supervised release.

        The court informed the defendant of the alleged

violations contained in the petition to revoke the term of

supervised release, filed on December 16, 2013.            The court

advised the defendant that, pursuant to Rule 32.1(b) of the

Federal Rules of Criminal Procedure, he has the right to a

hearing and assistance of counsel before his term of supervised

release could be revoked.      Whereupon the defendant admitted the

charges contained in the petition.        Thereafter, the court found

the charges were established by a preponderance of the evidence.

        Having heard arguments of counsel, the court found that

the Guideline imprisonment range for the revocation of supervised

release upon such grounds was thirty-three to forty-one months.

The court further found that the Guideline ranges issued by the
Case 1:06-cr-00072   Document 311   Filed 09/17/14   Page 2 of 4 PageID #: 1102



Sentencing Commission with respect to revocation of probation and

supervised release are policy statements only and are not binding

on the court.    Thus, the court stated that the relevant statutory

provision is 18 U.S.C. § 3583(e)(3), which provides a maximum

term of imprisonment of two years.        Neither party objected to the

Guideline range and statutory penalty as determined by the court.

The court found that there was sufficient information before the

court on which to sentence defendant without updating the

presentence investigation report.

        After giving counsel for both parties and defendant an

opportunity to speak regarding the matter of disposition, the

court ORDERED, pursuant to the Sentencing Reform Act of 1984,

that the defendant's term of supervised release be revoked, and

he is to be incarcerated for a term of twenty-four (24) months.

Defendant is to receive credit for ten (10) months served in

state custody while awaiting trial on state charges and it is the

court’s intent that defendant serve only the remaining fourteen

(14) months imprisonment of his sentence.            It is the court’s

intent that the defendant serve this fourteen month term at FMC

Butner, where he may receive continuing medical care.              Upon

completion of the defendant’s incarceration, he is to serve a

twelve (12) month term of supervised release, which will be

served at the Dismas Halfway House in St. Albans, West Virginia.




                                     2
Case 1:06-cr-00072   Document 311   Filed 09/17/14   Page 3 of 4 PageID #: 1103



        In considering the proper term of imprisonment to be

imposed, the court considered the factors set forth in 18 U.S.C.

§ 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5),

(a)(6), and (a)(7), as well as the Chapter 7 policy statements.

The court considered all of the findings in the case, and

concluded that the sentence satisfied the statutory objectives of

18 U.S.C. § 3553, and was sufficient, but not greater than

necessary, to provide adequate deterrence to criminal conduct and

protect the public from further crimes of the defendant.

        The defendant was informed of his right to appeal the

court's findings and the revocation of his supervised release.

The defendant was further informed that in order to initiate such

an appeal, a Notice of Appeal must be filed in this court within

fourteen (14) days.     The defendant was advised that if he wishes

to appeal and cannot afford to hire counsel to represent him on

appeal, the court will appoint counsel for him.            The defendant

was further advised that if he so requests, the Clerk of court

will prepare and file a notice of appeal on his behalf.

        The defendant was remanded to the custody of the United

States Marshals Service.

        The Clerk is directed to forward a copy of this

Memorandum Opinion and Order to counsel of record, the United

States Marshal for the Southern District of West Virginia, and

the Probation Department of this court.


                                     3
Case 1:06-cr-00072   Document 311    Filed 09/17/14     Page 4 of 4 PageID #: 1104



        IT IS SO ORDERED this 17th day of September, 2014.

                                    ENTER:


                                    David A. Faber
                                    Senior United States District Judge




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